              Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 1 of 9                  E-FILED
                                                                                      IN COUNTY CLERK'S OFFICE
                                                                                    PIERCE COUNTY, WASHINGTON

1                                                                                        June 25 2020 3:10 PM

2                                                                                           KEVIN STOCK
                                                                                           COUNTY CLERK
3                                                                                        NO: 20-2-06657-1

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7
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
8
                                IN AND FOR PIERCE COUNTY
9

10    WAYNE PRICE, an individual,
11
                                Plaintiff,          No.
12
      vs.                                           COMPLAINT FOR PERSONAL INJURIES
13                                                  AND DAMAGES

14
      WASHINGTON STATE PATROL, and
15    BENJAMIN J. CRABTREE, an individual in
      his official capacity only,
16
                                Defendant(s).
17

18          COMES NOW the Plaintiff, by and through his attorneys of record, Barry J. Wallis and

19   Cambria Queen, of WALLIS LAW FIRM, PLLC, and for a cause of action against the Defendants
20
     as follows:
21
                                                I. PARTIES
22
            1.1    Plaintiff:    WAYNE PRICE, at all times material to this cause of action, the
23

24   Plaintiff, WAYNE PRICE, resided in Pierce County, Washington.

25




     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 1 of 9

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               Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 2 of 9


1
             1.2     Defendant:      Defendant BENJAMIN J. CRABTREE, based on information and
2

3    belief, at all times material hereto, BENJAMIN J. CRABTREE, resided in Thurston County,

4    Washington.
5
             1.3     Defendant:      Defendant WASHINGTON STATE PATROL, at all times material
6
     hereto is an agency of the State of Washington.
7
             1.4     Defendant BENJAMIN J. CRABTREE was employed by and acting on behalf of
8

9    his employer, WASHINGTON STATE PATROL, at the time the acts complained of in this action

10   occurred. All acts and omissions of tortious activity herein were performed by Defendant
11
     BENJAMIN CRABTREE as agent for, on behalf of, and for the benefit of Defendant
12
     WASHINGTON STATE PATROL.
13
             1.5     Defendant WASHINGTON STATE PATROL, is vicariously liable for all acts of
14

15   Defendant BENJAMIN J. CRABTREE.

16                                   II. JURISDICTION AND VENUE
17
             2.1     Jurisdiction:   The superior courts of the State of Washington have jurisdiction
18
     over the parties to and the subject matter of this litigation.
19
             2.2     Venue: Venue is properly placed in Pierce County, Washington for this is the
20

21   county in which the plaintiff resides pursuant to RCW 4.92.010(1).

22                              III. COMPLIANCE WITH RCW 4.92.100
23
             3.1     Plaintiff served a standard Washington State Tort claim form in accordance with
24
     RCW 4.92.100 on March 26, 2020. More than sixty days have elapsed between the service of the
25
     Tort claim form and the filing of the complaint commencing this case.


     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 2 of 9

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              Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 3 of 9


1
                                                IV. FACTS
2

3           4.1      Paragraphs 1.1 through 3.1 above are incorporated herein by reference.

4           4.2      This case involves personal injuries and damages arising out of the false arrest,
5
     false imprisonment, discrimination based on sexual orientation, age discrimination, exploitation
6
     of an elderly individual, and intentional infliction of emotional distress that occurred on or about
7
     July 4, 2019.
8

9           4.3      On the evening of July 4, 2019, Plaintiff was pulled over by Defendant BENJAMIN

10   CRABTREE, badge number 1033, a Washington State Patrol officer, in Thurston County,
11
     Washington. Plaintiff was dressed in women’s clothing and was wearing a wig and makeup as
12
     part of his lifestyle choice and sexual orientation. During the traffic stop, Officer Crabtree
13
     subjected Plaintiff to extreme ridicule, roadside sobriety tests, and humiliation.
14

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     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 3 of 9

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               Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 4 of 9


1
              4.4   During the roadside sobriety test, Plaintiff was subjected to a breathalyzer test in
2

3    which the results showed a BAC level of .018. RCW 46.61.502 provides that a BAC level of

4    above .08 is required for an individual to be found to be driving under the influence. Even though
5
     Plaintiff’s BAC level was far below the required .08 level, he was still arrested and charged with
6
     a DUI.
7
              4.5   Upon his arrest, Plaintiff was taken to jail and booked in, being humiliated and
8

9    ridiculed continuously in the process due to his age and attire. Additionally, due to the arrest of

10   Plaintiff, his vehicle was impounded and his dogs inside the vehicle were transported to the
11
     Humane Society. Upon the release from jail, Plaintiff was forced to pay to remove his vehicle
12
     from impound and to remove his pets from the Humane Society.
13
              4.6   At the hearing assigned for this matter in the Thurston County District Court, the
14

15   Court dismissed the charge of DUI against Plaintiff, finding the charge to be unfounded.

16                     V. TORTIOUS CONDUCT AND PROXIMATE CAUSE
17
              5.1   Plaintiff WAYNE PRICE, re-alleges and incorporates by reference paragraphs 1.1
18
     through 4.6.
19
              5.2   False Arrest. Although Officer Crabtree performed a roadside breathalyzer test,
20

21   which results showed Plaintiff was not under the influence while driving, Officer Crabtree

22   intentionally and maliciously chose to arrest Plaintiff, falsely claiming Plaintiff was driving while
23
     intoxicated and charging Plaintiff with a DUI. The evidence of the BAC levels show this claim
24
     and charge to be false. As there was no other cause for arresting Plaintiff aside from the
25
     discrimination shown by Defendant Officer Crabtree of Plaintiff Wayne Price’s age and sexual


     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 4 of 9

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              Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 5 of 9


1
     orientation, there were no grounds for arresting him. However, Officer Crabtree did arrest
2

3    Plaintiff. Because of this arrest, Plaintiff’s civil rights and constitutional rights were violated by

4    Defendant Crabtree.
5
            5.3     False Imprisonment. Through Defendant BENJAMIN CRABTREE’s actions in
6
     intentionally and maliciously falsely arresting Plaintiff, he caused WAYNE PRICE to be falsely
7
     imprisoned under inappropriate charges. Plaintiff was not under the influence as his BAC level
8

9    was nowhere near the state regulated .08. By claiming Plaintiff was under the influence, with a

10   BAC level of only .018, Officer Crabtree intentionally caused Plaintiff to be booked and
11
     imprisoned under false claims. Being imprisoned under false allegations and for the mere reason
12
     of humiliating an individual based on their age and sexual orientation is a violation of the harmed
13
     individuals’ civil rights under the United States Constitution, as well as the Washington State
14

15   Constitution. Furthermore, 42 U.S.C. §1983 provides that any person who causes another

16   individual to suffer from deprivation of rights shall be liable to the injured party.
17
            5.5     Sexual Orientation and Discrimination. Plaintiff Wayne Price enjoys wearing
18
     women’s clothing, long-haired wigs, and make-up. He feels more like himself when he is dressed
19
     in such attire. Although Plaintiff is not a homosexual man, his comfort in his appearance could
20

21   possibly lead another individual to assume he is. This is exactly what happened when Officer

22   Crabtree stopped Plaintiff and forced him to perform a field sobriety test on the roadside while
23
     dressed in this attire. Officer Crabtree made disparaging remarks to Plaintiff and ultimately
24
     arrested him for no reason other than the perceived sexual orientation of Plaintiff. Article XXXI
25
     of the Washington Constitution provides equal rights based on sex. Additionally, RCW 49.60.030


     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 5 of 9

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                Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 6 of 9


1
     provides what civil rights every individual has in Washington, which include the right to be free
2

3    from discrimination based on sex, sexual orientation, etc. By assuming Plaintiff was of a certain

4    sexuality, and treating Plaintiff differently based on this assumption, Defendant Crabtree, through
5
     his employment with Defendant Washington State Patrol, violated Plaintiff’s constitutional and
6
     statutory rights. This bias-based discrimination shown by Defendant deprived Plaintiff of his civil
7
     rights.
8

9              5.6   Age Discrimination. Plaintiff WAYNE PRICE is 77 years’ old. Because of his

10   age, Defendant BENJAMIN CRABTREE was disrespectful and severely unprofessional in his
11
     treatment of Plaintiff. Through Defendant’s belligerent manners and humiliation of Plaintiff due
12
     to him being the age he is and dressed the way he was at that time, Plaintiff was discriminated
13
     against based on his age by Defendant. This bias-based discrimination exhibited by Defendant
14

15   caused Plaintiff’s civil rights to be violated.

16             5.7   Malicious Harassment and Elder Abuse. RCW 9A.36.080 provides that any person
17
     who maliciously and intentionally, based upon that person’s perception of the victim’s gender,
18
     sexual orientation, gender expression or identity, threatens and places that person in reasonable
19
     fear of harm to person or property, is guilty of a hate crime. Because of Plaintiff’s attire, Defendant
20

21   perceived Plaintiff to be of a specific sexual orientation or gender identity. Because of this

22   perception, Officer Crabtree abused his position as an officer of the law when he threatened to
23
     arrest Plaintiff and followed through with that threat. Plaintiff Wayne Price reasonably believed
24
     Officer Crabtree to be capable of immediately carrying out his threats, based on Officer Crabtree’s
25
     position of authority. That threat caused Plaintiff to reasonably fear for his safety, as any


     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 6 of 9

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              Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 7 of 9


1
     reasonable person in Plaintiff’s position would, due to the reactions and treatment by other inmates
2

3    in Thurston County Jail. Additionally, through Officer Crabtree’s threat and act of having

4    Plaintiff’s vehicle and animals impounded, Plaintiff reasonably feared for the safety of his pets
5
     and harm to his vehicle. Because of Plaintiff’s age, and Officer Crabtree’s malicious and
6
     intentional treatment of Plaintiff, Plaintiff was severely abused by Officer Crabtree and his actions.
7
     This abuse qualifies as a hate crime.
8

9           5.8     Intentional Infliction of Emotional Distress. As a direct and proximate result of

10   Defendants’ actions in intentionally and maliciously arresting, jailing, impounding, and
11
     humiliating Plaintiff, Defendants caused severe emotional distress to Plaintiff. The facts previously
12
     set out give rise to causes of action for negligent and/or intentionally infliction of emotional
13
     distress. Defendant’s conduct was negligent, extreme, outrageous, and/or intentional, as those
14

15   terms are understood and defined by the laws of the State of Washington.

16          5.8     The negligence, fault, acts, inactions, or omissions of Officer BENJAMIN
17
     CRABTREE as previously described herein under the sections of this Complaint describing the
18
     parties, facts, and liability, were the cause-in-fact and the proximate cause of Plaintiff’s damages
19
     as hereinafter described.
20

21                                  VI. RESERVATION OF RIGHTS

22          6.1     Plaintiff WAYNE PRICE, hereby reserves the right to amend this Complaint and/or
23
     the Defendants identified herein as allowed by statute, court rule, and case law and as additional
24
     facts are obtained through ongoing investigation and discovery.
25




     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 7 of 9

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                  Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 8 of 9


1
                                         VII. CLAIM & DAMAGES
2

3           7.1        As a direct and proximate result of the Defendants’ tortious acts and maliciousness

4    in their false arrest, false imprisonment, discrimination based on sexual orientation, age
5
     discrimination, hate crimes, exploitation of an elderly individual, and intentional infliction of
6
     emotional distress, Plaintiff’s civil rights and consitutional rights were violated by Defendant
7
     Benjamin Crabtree and Washington State Patrol. Because of the violation of Plaintiff’s civil and
8

9    constitutional rights, Plaintiff Wayne Price was injured, suffered and continues to suffer emotional

10   trauma, loss of enjoyment of life, and other damages.
11
            WHEREFORE, Plaintiff prays for judgment against the Defendants, jointly and severally,
12
     in an amount that will compensate Plaintiff for all damages sustained, including:
13
     a.      Economic
14

15                i.   Income loss;

16            ii.      Other out-of-pocket expenses, the amount of which to be proven at trial; and
17
             iii.      Other recoverable economic damages.
18
     b.     Non-economic
19
             i.        Past and future mental and emotional suffering;
20

21          ii.        Innappropriate arrest;

22         iii.        False imprisonment;
23
           iv.         Age discrimination;
24
            v.         Sexual orientation discrimination;
25
           vi.         Malicious harassment and elderly abuse;


     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 8 of 9

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                  Case 3:20-cv-05747-TSZ Document 1-2 Filed 07/27/20 Page 9 of 9


1
           vii.       Negligent infliction of emotional distress;
2

3         viii.       Hate Crimes;

4           ix.       Loss of enjoyment of life; and
5
             x.       Other recoverable non-economic damages.
6
                                         VIII. PRAYER FOR RELIEF
7
             Plaintiff prays for judgment against Defendants as follows:
8

9            8.1      For a judgment of liability in favor of the Plaintiff and against the Defendants;

10           8.2      For an award of damages in favor of the Plaintiff and against the Defendants in an
11
     amount to be proven at the time of trial;
12
             8.3      For pre-judgment interest at the statutory rate on the economic damages incurred
13
     by Plaintiff;
14

15           8.4      For post-judgment interest at the statutory rate on the judgment amount;

16           8.5      For Plaintiff’s costs and disbursements herein and a reasonable attorney’s fee; and
17
             8.6      For such further relief as is just.
18
                        25th day of June, 2020.
             DATED this _____
19
                                                            WALLIS LAW FIRM, PLLC
20

21

22                                                          _________________________
                                                            Barry J. Wallis, WSBA #37425
23
                                                            Cambria Queen, WSBA #54833
24                                                          Attorneys for the Plaintiff

25




     COMPLAINT PERSONAL INJURIES AND DAMAGES
     Page 9 of 9

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